                 Case 18-14821-LMI        Doc 20        Filed 05/30/18   Page 1 of 3




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

 In re:                                                 Case No.: 18-14821-LMI

 WILL ZAMORA,                                           Chapter 13

           Debtor.
                                                /

               CREDITOR TIMOTHY MOSLEY’S EMERGENCY OBJECTION
               TO DEBTOR’S NOTICE OF VOLUNTARY DISMISSAL [ECF 19]
                   AND MOTION TO CONVERT CASE TO CHAPTER 7

                                Local Rule 9075-1 Statement of Exigency

                 On May 30, 2018, the Debtor filed his Notice of Voluntary Dismissal
                 in which he seeks to dismiss this chapter 13 proceeding. The Debtor
                 abused the chapter 13 process and filed this chapter 13 case in bad
                 faith to avoid an eviction, among other things, which prejudiced and
                 harmed Creditor Timothy Mosley. Mr. Mosley asks the Court to
                 postpone dismissing this this case until his Motion to Convert Case
                 to Chapter 7 under 11 U.S.C. § 1307(c) for cause based on bad faith
                 is heard. Once the Court has dismissed the case, the Court will not
                 be able to consider Mosley’s Motion to Convert, which is meritorious
                 and will be in the best interests of creditors. Mr. Mosley asks the
                 Court to set this matter for a hearing in its usual course, but to
                 withhold dismissing this case until the Court has heard this objection
                 and Motion to Convert.

          Creditor Timothy Mosley (“Mosley”) asks the Court to postpone dismissing this chapter
13 case and to hear and grant his Motion to Convert Case to a Chapter 7, and states:
          1.     On April 25, 2018, the Debtor filed this voluntary chapter 13 case within a few
hours of Mosley’s service of a writ of possession by the Miami-Dade County Sheriff’s office to
evict the Debtor from Mosley’s 10,000 square foot house in Pinecrest, Florida [ECF 1, 8].
          2.     The Debtor filed nothing more than a bare-bones petition with no schedules [ECF
1]. The Court entered an Order requiring the Debtor to file schedules on or before June 9, 2018
[ECF 18]. To date, the Debtor has not filed any schedules.




                                                    1
                Case 18-14821-LMI         Doc 20       Filed 05/30/18    Page 2 of 3



       3.      After an emergency hearing on May 8, 2018 [ECF 9], the Court entered an Order
providing Mosley with stay relief to enforce the writ of possession and to evict the Debtor [ECF
14].
       4.      The Debtor’s chapter 13 was filed in bad faith to delay and to frustrate Mosley’s
attempts to regain possession of his Pinecrest house. As a result of the Debtor’s actions, some of
which are after the filing of this chapter 13, Mosley has been damaged. The Debtor has significant
assets for a chapter 7 trustee to be able to administer for the benefit of general unsecured creditors,
such as Mosley.
       5.      Section 1307(c) of Title 11 permits the Court to convert a chapter 13 debtor’s case
to a chapter 7 for “cause” which includes bad faith. Here, the Debtor filed his chapter 13 case in
bad faith. The chapter 13 was filed during eviction proceedings and after a writ of execution was
issued and served, after many months of delays in state court and more than $100,000 due in back
rent alone. Mosley has a large claim against the Debtor well beyond this $100,000. The Debtor
has many assets which a chapter 7 trustee would administer for the benefit of Mosley and other
creditors. The Debtor is also a defendant in a post-foreclosure sale proceeding in the United States
District Court case in Puerto Rico that is still active and presents another creditor who could benefit
from an orderly liquidation.
       6.      The Debtor has additionally not been forthcoming with the Court. The Debtor
never filed any schedules. The Debtor failed to disclose the existence of the writ of possession
and eviction in his bare-bone petition by misrepresenting no final judgment existed when a final
judgment had been entered. The Debtor also misrepresented on his petition that he did not own
any sole proprietorships. Mosley has found two to date.         The Debtor also misrepresented his
assets and liabilities in his petition as both being under $50,000. Neither is true. Bad faith is
manifest and cries out for conversion to a chapter 7.
       7.      At a minimum, Mosley asks the Court to postpone dismissing this case until his
Motion to Convert has been heard, and to permit Mosley to engage in discovery relating to the bad
faith elements if it not completed before the hearing on this matter.
       WHEREFORE Creditor Timothy Mosley prays this Honorable Court will not dismiss this
chapter 13 case, and will either convert this case to a chapter 7 or permit Mosley discovery on the
issue of conversion before dismissing this case, and granting such other relief as the Court deems
just and proper.



                                                   2
                Case 18-14821-LMI        Doc 20       Filed 05/30/18   Page 3 of 3



       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 30th day of May, 2018.
                                              STEVEN FENDER P.A.

                                              /s/ G. Steven Fender
                                              G. STEVEN FENDER, ESQ.
                                              Florida Bar No. 060992
                                              Attorney for Creditor Timothy Mosley
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